                Case: 1:18-cr-00109-TSB Doc #: 7 Filed: 07/25/18 Page: 1 of 2 PAGEID #: 43

                                                                                                                      FILED
AO 442 (Rev. 11/ 11 ) Arrest Warrant                                                                             RICHARD W. NAGEL
                                                                                                                   CLERK OF LOUR I
                                          UNITED STATES DISTRICT COURT                                        201 8JUL 25 PH 3: 24
                                                                     for the
                                                                                                                U.S. DISTRICT COUR T
                                                           Southern District of Ohio                            SOUH!ERN DIST OH IO
                                                                                                                WE ST DIV CINC l~~NATI
                   United States of America
                              v.                                       )
                                                                       )        Case No. 1: 18-cr-00109(2)
                                                                       )
                                                                       )
                       SERGHEI VERLAN                                  )
                                                                       )
                              Defendant


                                                         ARREST WARRANT
To:       Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)        SERGHEI VERLAN
                                   - - - -- - - - - - - -- - - - -- - -- - - - - - - - -- - - -
who is accused of an offense or violation based on the following document filed with the court:

rt Indictment              0 Superseding Indictment           CJ Information       CJ Superseding Information           0 Complaint
CJ Probation Violation Petition               0 Supervised Release Violation Petition       CJ Violation Notice         0 Order of the Court

This offense is briefly described as follows:

                                       18 U.S .C. § 1962(d) - Conspiracy to Participate in Racketeering Activity

                                                   (SEE ATTACHED INDICTMENT]




Date:        7/25/2018
        - - - -- - - -

City and state:        CINCINNATI, OHIO                                        Richard W. Nagel, Clerk, U.S.
                                                                                   -- -              -

                                                                    Return

          This warrant was received on (date) _ _ _ __ __ , and the person was arrested on (date)
at (city and state)


Date:   --------                                                                            Arresting officer 's signature



                                                                                               Printed name and title
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                      This second page contains personal identifiers provided for law-enforcement use only
                     and therefore should not be filed in court with the executed warrant unless under seal.

                                                      (Not for Public Disclosure)

Name of defendant/offender:
Known aliases:
Last known residence:
Prior addresses to which defendant/offender may still have ties:


Last known employment:
Last known telephone numbers:
Place of birth:
Date of birth:
Social Security number:
Height:                                                                Weight:
Sex:                                                                   Race:
Hair:                                                                  Eyes:
Scars, tattoos, other distinguishing marks:




History of violence, weapons, drug use:


Known family, friends, and other associates (name, relation. address. phone number):


FBI number:
Complete description of auto:


Investigative agency and address:


Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable):




Date of last contact with pretrial services or probation officer (if applicable):
